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1    DAYLE ELIESON
     United States Attorney
2    CHAD W. MCHENRY
     Assistant United States Attorney
3    District of Nevada
     KELLY PEARSON
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     501 Las Vegas Blvd. South, Suite 1100
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7
     Representing the United States of America
8

9                      UNITED STATES DISTRICT COURT
                            DISTRICT OF NEVADA
10

11   United States of America,
                                                 Case No. 2:17-cr-306-JCM-PAL
12                Plaintiff,
                                                 Government’s Unopposed Motion
13                v.                             for Extension of Time re:
                                                 Complex Case Schedule
14   Svyatoslav Bondarenko, et al.
                                                 (First Request)
15                Defendants.

16

17         The United States of America, by and through DAYLE ELIESON, United

18   States Attorney, CHAD W. MCHENRY, Assistant United States Attorney, and

19   KELLY PEARSON, Trial Attorney, respectfully submits this motion for an extension

20   of time in which a complex case schedule may be filed pursuant to LCR 16-1(a).

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1                                          FACTS

2          1.   The Indictment in this case was returned under seal by a federal Grand

3    Jury seated in Las Vegas, Nevada, on September 19, 2017. ECF No. 301 (redacted

4    and unsealed Indictment). Superseding and Second Superseding Indictments, also

5    under seal, were returned by the same Grand Jury on October 31, 2017, and January

6    30, 2018, respectively. ECF Nos. 302 (redacted and unsealed Superseding Indict-

7    ment), 303 (redacted and unsealed Second Superseding Indictment).

8          2.   Defendant Pius Wilson (#23) made his initial appearance in this District

9    on March 6, 2018, and is represented by attorney Todd Spodek.

10         3.   Defendant David Vargas (#27) made his initial appearance in this Dis-

11   trict on March 7, 2018, and is represented by the Federal Public Defender.

12         4.   Defendant Sergey Medvedev (#2) made his initial appearance in this Dis-

13   trict on March 12, 2018, and is represented by attorney Lance Maningo.

14         5.   Defendant Jose Gamboa (#19) made his initial appearance in this Dis-

15   trict on March 15, 2018, and is represented by attorney Thomas Ericsson.

16         6.   Defendant John Telusma (#16) made his initial appearance in the East-

17   ern District of New York on February 7, 2018, and will make his initial appearance

18   in this District on March 21, 2018. He is represented by attorney Crane Pomerantz.

19         7.   At this time, the remaining defendants in this case that the Government

20   is aware of are either pending extradition proceedings and seem unlikely to appear

21   before the Court in the immediate future, or are fugitives from justice.

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1          8.   Pursuant to LCR 16-1(a)(2) and (a)(3), the parties have 14 days at most

2    from the date of the initial appearance hearing to file a complex case schedule. This

3    would place the filing deadline for the earliest defendant at March 20, 2018.

4          9.   Counsel for the Government have conferred with the above-named de-

5    fense counsel, and they have no objection to this proposed extension of time.

6                                  RELIEF REQUESTED

7          The Government respectfully moves this Court to extend the allowable time

8    during which a complex case schedule may be filed by the parties, fixing the new

9    deadline at April 4, 2018, or 14 days following Defendant Telusma’s anticipated ini-

10   tial appearance. This will ensure that all counsel representing this first cohort of

11   defendants have the opportunity to review and provide input to the parties’ proposed

12   complex case schedule before it is filed with the Court.

13

14         DATED this 15th day of March, 2018.

15
                                             Respectfully submitted,
16
                                             DAYLE ELIESON
17                                           United States Attorney

18                                           / s / Chad McHenry
                                             ______________________________
19                                           CHAD W. MCHENRY
                                             Assistant United States Attorney
20
                                             KELLY PEARSON
21                                           Trial Attorney

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1                             CERTIFICATE OF SERVICE

2          I certify that I am an employee of the United States Attorney’s Office. A copy

3    of the foregoing GOVERNMENT’S UNOPPOSED MOTION FOR EXTENSION

4    OF TIME RE: COMPLEX CASE SCHEDULE was served upon counsel of record

5    via Electronic Case Filing (ECF).

6

7          DATED this 15th day of March, 2018.

8

9                                              / s / Chad McHenry
                                               ______________________________
10                                              CHAD W. MCHENRY
                                                Assistant United States Attorney
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4                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA
5

6    United States of America,
                                              Case No. 2:17-cr-306-JCM-PAL
7                 Plaintiff,
                                              Order on Extension of Time
8                 v.                          re: Complex Case Schedule

9    Svyatoslav Bondarenko, et al.

10                Defendants.

11

12
           The Court having considered the proffer and unopposed motion submitted by
13
     the Government, and good cause appearing:
14
           IT IS ORDERED that the deadline to file a complex case schedule in the
15
                                       April 4, 2018
     above-captioned case is set to ________________________________________________.
16

17
           DATED this 21st day of March, 2018.
18

19

20                                  _______________________________
                                    Hon. Peggy A. Leen
21                                  United States Magistrate Judge
                                    District of Nevada
22



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